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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

POPSOCKETS LLC,
                                                   Case No. 18-cv-07444
               Plaintiff,
                                                   Judge Joan H. Lefkow
v.
                                                   Magistrate Judge Jeffrey T. Gilbert
YIWU GIFTLINE IMPORT & EXPORT CO.,
LTD., et al.,

               Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff PopSockets

LLC (“PopSockets” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendant:

                Defendant Name                                        Line No.
                  GH-Beauty                                              29


Dated this 29th day of March 2019.          Respectfully submitted,


                                            /s/ Justin R. Gaudio_______________
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                                            Justin R. Gaudio
                                            Allyson M. Martin
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